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                   UNITED STATES DISTRICT COURT

                   SOUTHERN DISTRICT OF GEORGIA

                          SAVANNAH DIVISION
ANTHONY OLIVER                     )
                                   )
      Plaintiff,                   )
                                   )
v.                                 )          CV418-100
                                   )
CITY OF POOLER, et al.,            )
                                   )
      Defendants.                  )

         ORDER AND REPORT AND RECOMMENDATION

      This case is one of several that pro se plaintiff Anthony Oliver has

filed in this Court. One recent case was dismissed with prejudice because

of Oliver’s persistent failure to abide by the Court’s rules, procedures,

and orders. See Oliver v. County of Chatham, et al., CV417-101, doc. 189

(Report and Recommendation); doc. 220 (Order adopting recommended

filing conditions).   Several of the present defendants have moved to

dismiss this case because Oliver has not complied with the conditions

imposed when that case was dismissed. See doc. 6 at 6-8. At the time

that defendants made that request, Oliver’s appeal of the Order

dismissing that case and imposing the special filing conditions was

pending.    See CV417-101, doc. 222 (Notice of Appeal).      Recently, the

Court of Appeals dismissed that appeal for want of prosecution. CV417-
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101, doc. 231 (Mandate).         Given the totality of Oliver’s conduct, the

Court should require that he comply with the previously imposed

conditions in this case.1

    I.     Oliver’s Litigation Conduct

         In the dismissed case, Oliver sought and received an extension of

time to file his objections to the Court’s recommendation of dismissal

with prejudice and restrictions to be imposed on any future cases he

filed. CV417-101, doc. 203. In seeking that extension, he represented to

the Court, under penalty of perjury, that such an extension was

warranted, among other reasons, because he intended to “fil[e] a Chapter

7 petition with the United States District Court, Southern District

Bankruptcy Court.” Id. at 2. He did not disclose his intention to initiate

any other proceeding. See id.

         Based on those representations, the Court granted him an

extension to file his objections. CV417-101, doc. 204. Two weeks after he

was granted the extension, he filed a discovery motion (CV417-101, doc.

206) and another document purporting to alter his previously filed

1
  The undersigned is entering a companion Order and Report and Recommendation
in CV418-120. There, as here, the Court directs Oliver to explain the discrepancies in
his statements concerning his financial situation and recommends imposing
conditions on his prosecution of that case.

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“voluntary dismissal,” (CV417-101, doc. 208). Almost three more weeks

passed before Oliver filed his objection, a day after his extended deadline.

See CV417-101; doc. 211.

      Oliver’s difficulty in meeting his extended deadline is explicable,

however.     He used the time to prepare and file this action, seeking

recovery for alleged civil rights violations under 42 U.S.C. § 1983. Doc. 1.

Despite his protestation in his extension request that he was on the

verge of bankruptcy, he paid the Court’s full $400 filing fee. See doc. 1-2

(receipt). He has also filed another action, alleging civil rights violations

by various individuals in Effingham County, Georgia, (including,

apparently, every sitting judge in the county). See Oliver v. County of

Effingham, et al., CV418-120, doc. 1 (S.D. Ga. May 23, 2018)

(Complaint). Once again, he paid the full filing fee. See id. at 30-31

(receipt). In August, he filed another § 1983 action in Chatham County

Superior Court, which defendants removed to this Court. See Oliver v.

Massey, et al., CV418-213, doc. 1 (S.D. Ga. Sept. 7, 2018).2 Finally, in


2
  It is not clear to the Court whether he paid a fee to file that case, but the notice of
removal does not include any indication that he brought it in forma pauperis.

In addition to the cases he filed here, in September 2018, he filed a suit against Lyft,
Inc., in the Northern District of California. Again, he paid the $400 filing fee. See

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June, he paid a private process server $104.50 to serve his Complaint

upon Governor Nathan Deal. See doc. 37 at 14.

      Oliver      filed    another      civil   action,     alleging      employment

discrimination, in which he sought leave to proceed in forma pauperis

(IFP). See Oliver v. Hayley Sheth Investments, L.L.C., CV417-152, doc. 1

(Complaint) (S.D. Ga. Aug. 14, 2017); doc. 2 (Motion for Leave to Proceed

in forma pauperis) (S.D. Ga. Aug. 14, 2017). In his IFP application, he

stated, again under penalty of perjury, that his average income for the

preceding twelve months was $0.00, he had $46.00 in his checking

account, and did not expect any “major changes to [his] monthly income

. . . during the next 12 months.” CV417-152, doc. 2 at 1-2, 5. That is,

perhaps, consistent with his recent protestation that he intended to file

for bankruptcy protection. It is, however, completely inconsistent with

his payment of more than $800.00 in court fees and litigation costs.




Oliver v. Lyft, Inc., et al., CV418-270, doc. 1 (S.D. Ga. Sept. 7, 2018) (Complaint). The
case was subsequently transferred to this Court. Doc. 35 (Transfer Order). Shortly
after the transfer, Oliver filed another Complaint against Lyft, Inc., in the Northern
District of California. See Oliver v. Lyft, Inc., CV318-7166, doc. 1 (N.D. Cal. Nov. 26,
2018). Lyft has moved to transfer the case to this Court, alleging that Oliver’s filing
it in the Northern District is “a naked attempt to evade [this Court’s] prior vexatious
litigant order.” Id., doc. 27 (N.D. Cal. Jan, 14, 2019). Oliver opposes that motion.
CV318-7166, doc. 29 (N.D. Cal. Jan. 14, 2019).

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     Several of Oliver’s filings also demonstrate that his rhetorical

impulses continue to overcome his discretion. See CV417-101; doc. 166

at 23 (admonishing Oliver that his “hyperbole and outrage have damaged

his ability to pursue the justice he claims is the object of his suit.”). The

present   Complaint    includes   numerous     inflammatory     accusations,

unaccompanied by factual support. See doc. 1 at 2, ¶ 3 (“The Defendants

operate the ‘good old boy system’ to the extent that each other will lie,

cheat, steal, file false police reports, shoot unarmed citizens and then lie

for one another again, this is the case here.”), 3, ¶ 6 (objecting to use of

local police as “security” for state Department of Transportation projects

and stating “City and County police are to be used to fight crime in their

respective cities and counties, not go out on security details and do

whatever they want to do like sleeping in the police cars on the side of

the road, providing escorts to their friends and family, chasing down

speeders, or motorists for traffic violations.”), 4, ¶ 9 (alleging “on

information and belief, the Governor of the State of Georgia and the

[state Department of Transportation], conclusively, directly and

indirectly authorizes and allows the civil and criminal Defendants in this

action to conduct such misconduct so that the State of GA and the

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GADOT will receive a fraction of the illegally obtained monies through

traffic citations.”), 7, ¶22 (“Plaintiff believes and thereon alleges that the

STATE OF GA provides funding to the CITY OF BLOOMINGDALE and

its corrupt Police Department.”), 13, ¶ 52 (referring to a defendant as a

“thug” and alleging that the defendant “and his criminal thug friends

were drunk and waving a badge” in an unrelated incident in July 2017);

17, ¶ 69 (“For example, in many ways, Defendants STATE OF GA and

[its governor] DEAL use the tax payer’s dollars in this State for things

that make no sense whatsoever.”), 18, ¶ 69(B) (referring to state funds

paid to “local corrupt officers to provide security on all construction sites

on the state freeways.”). It appears, therefore, that the Court’s previous

admonitions have had no effect. This case also reflects Oliver’s habit of

filing partial dismissals. See doc. 27. The now-familiar pattern repeats

in his other cases. See CV418-213, doc. 7 (“dismissing” claims against

defendant Massey, “with prejudice”); CV418-120, docs 16, 38 & 55.

     His broader litigation record only reinforces the conclusion that

Oliver is, to say the least, irresponsible. An exhaustive examination of

that litigation, in jurisdictions across the country, would be unduly

burdensome. However, in September 2018, the United States District

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Court for the Central District of California declared Oliver a vexatious

litigant. See Oliver v. Luner, CV218-2562, doc. 99 (C.D. Cal. Sept. 26,

2018).3 The court noted that “[i]n addition to his numerous actions in

state court, [Oliver] has filed at least thirty lawsuits in federal court.”

Id. at 4. It lamented that it “searched in vain for a case in federal court

resulting in a verdict on the merits in [Oliver’s] favor,” but found,

instead, warnings to restrain his conduct “on multiple occasions by

multiple judges in multiple districts.” Id. at 7-8. Based on that conduct,

the court imposed, what it recognized was “‘an extreme remedy that

should rarely be used,’” id. at 2 (quoting Molski v. Evergreen Dynasty

Corp., 500 F.3d 1047, 1057 (9th Cir. 2007)), and required Oliver to

“obtain leave of court before filing any additional lawsuits.” Id. at 9.

The Central District’s Order makes the burden that Oliver has imposed

on the court system clear.




3
  Although the Court concedes the possibility that other individuals named “Anthony
Oliver” may file civil cases, the Central District was sufficiently assured of plaintiff’s
identity that it cited his previously filed cases in its Order. See CV218-2562, doc. 99
at 5. His filings in that case also list his Savannah, Georgia address. See, e.g.,
CV218-2562, doc. 95 (brief filed by Oliver listing a mailing address in its header).
That address corresponds to the address listed as plaintiff’s on his Civil Cover Sheet
in this case. See doc. 1-1, § I.(c).

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  II.   Conditions on further litigation

  Oliver’s ongoing conduct in his various cases seems explicable only by

culpable carelessness or a deliberate attempt to disrupt the efficient

disposition of his claims. In either case, it is the sort of behavior that

demands response. Accordingly, the Court RECOMMENDS that the

conditions imposed on Oliver in CV417-101 be imposed in this case as

well. Those conditions are:

  (1)   In addition to paying the Court’ s filing fee, Oliver must post a

        $1,000 contempt bond with the Clerk of Court. This bond will

        be held by the Clerk of Court and, if Plaintiff has conducted the

        affairs in his case appropriately, the bond will be returned to

        him at its conclusion;

  (2)   Plaintiff must file into this case, and attach to any Complaint he

        files, a signed affidavit swearing that he has read Federal Rule of

        Civil Procedure 11 and will abide by its provisions.

CV417-101, doc. 220 at 2. Oliver is reminded that he remains subject to

that Order’s requirement that he must attach to any subsequent

Complaint he files both a photocopy of the Report and Recommendation,




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recommending dismissal of CV417-101, and the Order dismissing that

case. See id. at 2.

         Further, he is DIRECTED to:

   (3)     file a response to this Order and Report and Recommendation

           within 14 days and explain the apparent inconsistencies in his

           sworn statements concerning his financial condition; and

   (4)     in any further filing in this case, including the response required

           above, include the following statement:

         “I declare under penalty of perjury under the laws of the United
         States of America that each fact asserted in the foregoing is true
         and correct. Executed on (date).”

         Finally, given the ambiguous status of Oliver’s claims resulting

from his “dismissals,” he must amend his Complaint. Within 30 days,

Oliver must file an Amended Complaint stating any claim he still wishes

to pursue. Any defendant named in that Amended Complaint, who has

already been served, shall have 21 days to respond. Any new defendant

added in the Amended Complaint must be served with process, according

to the requirements of the Federal Rules of Civil Procedure.

         Given   the   provisions   of       this   Order   and   Report   and

Recommendation, motions to dismiss the original Complaint, both

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plaintiff’s and defendants’, are moot. Accordingly, they, and the motions

related to them, should be DENIED. Docs. 6, 9, 27, 41, 42, 44 & 45. All

deadlines in this case are STAYED, pending Oliver’s compliance with

the provisions of this Order and any additional conditions imposed by the

District Judge, as recommended above.              Accordingly, the Clerk is

DIRECTED to terminate the various pending discovery motions. Docs.

7, 10, 28, 43 & 48. Once the stay is lifted and any motions to dismiss are

resolved, discovery motions may be refiled. Finally, plaintiff’s motion to

tax the costs of service against Governor Deal, based on his refusal to

waive personal service, is DENIED without prejudice to refile after the

stay is lifted.4 Doc. 37.

      This Report and Recommendation (R&R) is submitted to the

district judge assigned to this action, pursuant to 28 U.S.C.

§ 636(b)(1)(B) and this Court’s Local Rule 72.3.            Within 14 days of

service, any party may file written objections to this R&R with the

Court and serve a copy on all parties.              The document should be

captioned     “Objections      to     Magistrate      Judge’s     Report      and

4
   Governor Deal has filed a motion to dismiss Oliver’s claims against him as
precluded on numerous grounds. Doc. 42. Should Oliver find any of those arguments
compelling, his opportunity to amend his Complaint will allow the withdrawal of any
such frivolous claim.

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Recommendations.” Any request for additional time to file objections

should be filed with the Clerk for consideration by the assigned district

judge.

     After the objections period has ended, the Clerk shall submit this

R&R together with any objections to the assigned district judge. The

district judge will review the magistrate judge’s findings and

recommendation pursuant to 28 U.S.C. § 636(b)(1)(C). The parties are

advised that failure to timely file objections will result in the waiver of

rights on appeal. 11th Cir. R. 3-1; see Symonett v. V.A. Leasing Corp.,

648 F. App’x 787, 790 (11th Cir. 2016); Mitchell v. U.S., 612 F. App’x

542, 545 (11th Cir. 2015).

     SO ORDERED AND REPORTED AND RECOMMENDED,

this 29th day of January, 2019.




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